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                                                       January 14, 2022


 The Honorable Michael B. Kaplan
 United States Bankruptcy Court, District of New Jersey
 Clarkson S. Fisher US Courthouse
 402 East State Street, Courtroom #8
 Trenton, NJ 08608

                     Re: LTL Management LLC, Case No. 21-30589 (MBK)

 Dear Chief Judge Kaplan:

        On behalf of the Debtor, I submit this response to three separate letters submitted to the
 Court on January 13, 2022, by representatives of talc claimants.

         I will address first the letter from Ms. Cyganowski, counsel to Committee I, requesting a
 further adjournment of the January 21, 2022 hearing on the Debtor’s motion regarding the
 automatic stay and issuance of a preliminary injunction [Adv. Pro. Dkt. 2] (the “PI Motion”). I
 then will turn to letters from Mr. Jonas, also counsel to Committee I, and from Brian Glasser,
 counsel to Committee II. Mr. Jonas and Mr. Glasser each write separately concerning certain
 discovery issues related to the Motions to Dismiss.

                                                   PI Hearing Adjournment

         Ms. Cyganowski advises that the Talc Committees are in agreement that (i) the PI Hearing
 should be further continued, this time to a date certain promptly following the February 15, 2022
 hearing on the Motions to Dismiss and, (ii) to accommodate the requested adjournment, a bridge
 order should be entered further extending the automatic stay/preliminary injunction order entered
 by the North Carolina Bankruptcy Court (Adv. Pro. Dkt. 94).

         The Court should deny this request. As the Court will recall, at the teleconference with the
 Court on January 6, 2022, counsel for Committee I requested a two-week adjournment of the PI
 Hearing to “permit, for want of better words, respect for the comity between the courts to allow
 Judge [Wolfson] sufficient time to consider the papers before her without placing this Court into
 the difficult position of moving forward on a matter that could be at any time removed from it.”
 (Jan. 6, 2022 Tr. 5:4-9).

       Taking claimants at their word, Judge Wolfson expeditiously entered an order denying the
 motion to withdraw the reference for the adversary proceeding (Adv. Pro Dkt. 153). Judge


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 Wolfson entered that order “in light of various impending deadlines in the underlying bankruptcy
 proceedings, and the need to provide the parties and the Bankruptcy Court with certainty as to
 where these proceeding should proceed . . . .” (Order, 1.) Having imposed on Judge Wolfson to
 accommodate their stated interests, claimants have no legitimate reason to seek to further adjourn
 the PI Hearing from January 21, 2022, the date the Talc Committees requested in the interest of
 comity.

         Deferring a ruling on the PI Motion beyond the hearing on the Motions to Dismiss will
 only delay the Debtor’s objective of commencing mediation with representatives of the talc
 claimants as soon as possible. No adjournment is warranted, particularly in light of the Court’s
 prior ruling on the extent of evidence that can be presented. These important threshold issues
 need to be decided and the PI Hearing should go forward on the date the Talc Committees
 requested, January 21, 2022.

                                        Discovery Matters

        Messrs. Jonas and Glasser raise issues concerning the breadth and pace of discovery in
 connection with the Motions to Dismiss. As the Debtor has previewed for the Court, the issues
 necessary to decide the Motions to Dismiss are relatively narrow, and few, if any, factual issues
 are in dispute. The Debtor already has produced to claimant representatives documents and
 information necessary to resolve the Motions to Dismiss as a part of the expedited discovery
 exchanged in the preliminary injunction proceeding in North Carolina.

          Nevertheless, since the start of discovery here, the Talc Committees have inundated the
 Debtor with myriad requests designed to maximize the costs and burden on the Debtor. They
 served grossly overbroad discovery requests that included 67 separate document requests and
 initially asked the Debtor to collect and review the electronically stored information (“ESI”) of 78
 custodians. They did this knowing that the Debtor could not possibly respond to these requests in
 the limited time available for discovery before the hearing on the Motions to Dismiss, which they
 demanded be set on an aggressive schedule.

         The Debtor consistently has responded in good faith and has worked to negotiate
 reasonable limits, all with the goal of providing what can be produced practicably in the short
 timeframe available. It has been transparent about what it can and cannot produce and has worked
 relentlessly (including over the two-week holiday period) to review thousands of documents and
 produce what is responsive as quickly as possible.

        The Talc Committees’ claim that the Debtor has been slow to produce documents and has
 produced very little is inaccurate. The Debtor produced over 2,700 documents (approximately
 23,600 pages) in the North Carolina proceeding alone, including the entire closing binder for the
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 2021 corporate restructuring (“NC Production”). The Debtor agreed that the Talc Committees
 may use, in connection with the Motions to Dismiss, all of the documents that the parties produced
 in the multi-district talc litigation pending in the District of New Jersey, MDL No. 16-2738 (FLW)
 (LGH) (“MDL Production”). The MDL Production alone is over 500,000 documents
 (approximately 2.5 million pages).

         The Debtor has made substantial progress toward completing its production of documents
 in response to the Talc Committees’ recent document requests. The Debtor has completed its
 production of documents in response to at least 40 of the Talc Committee’s 67 original requests
 and has partially responded to at least another 15. Another six of the Talc Committees’ 67 original
 document requests were withdrawn or deferred. The Debtor has completed the production of ESI
 for five of the nine agreed-upon custodians, and expects to complete the production of ESI for
 another three custodians next week. All of the ESI for custodians whose depositions have been
 requested is being produced in advance of the scheduled depositions.

        The Debtor addresses below each of the specific issues raised by the separate letters from
 Messrs. Jonas and Glasser. The Debtor also addresses certain new requests that the Talc
 Committees made to the Debtor on January 12, 2022.

 Depositions

         As the Court may recall, at the original Talc Committee’s request, the parties scheduled
 three depositions just before the holidays (Ms. Goodridge on December 20 and Messrs. Wuesthoff
 and Azevedo on December 22). The deposition of Mr. Azevedo had to be postponed, however,
 because counsel for the original Committee and other counsel for talc claimants engaged in
 duplicative examinations of Mr. Wuesthoff and, as a result, that deposition took the full day. Mr.
 Azevedo’s deposition has been rescheduled to January 24.

         On December 31, the Talc Committees informed the Debtor that they wanted to take the
 deposition of Thibaut Mongon and Michelle Ryan. The parties have scheduled Mr. Mongon’s
 deposition for January 19. Ms. Ryan recently retired and since the beginning of the year has been
 in the process of moving to Florida. Until yesterday, the Debtor was unable to confirm a date for
 her deposition other than to indicate to the Talc Committees that it would need to be at the end of
 January to allow for her to complete her move to Florida. The Debtor has confirmed that Ms.
 Ryan is available to be deposed on January 27.

        On January 3, the Debtor requested that the Talc Committees identify any additional
 deponents as soon as possible to provide sufficient time to address any scheduling challenges that
 might exist. During the conference with the Court on January 3, the Court directed the Talc
 Committees to identify their additional witnesses in the next three days. (Jan. 3, 2022 Tr. 27:8-
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 10). On January 4, the Talc Committees requested two more depositions, of Richard Dickinson
 and John Kim, bringing the total requested to seven. Those depositions have been scheduled for
 January 21 and January 26, respectively.

        With two depositions completed and five more scheduled, the Debtor reasonably believed
 there would be no more depositions requested by the Talc Committees. But on January 12, six
 days after the Court’s deadline for identifying deponents, the Talc Committees requested three
 additional depositions: Chris Andrews, Tom McCann, and Bob Decker.

         The Debtor objects to these requests and asks the Court to deny them. There is no need for
 depositions of ten fact witnesses to address the issues relevant to the Motions to Dismiss. That
 number of depositions is the maximum number allowed under the Federal Rules of Civil Procedure
 for civil actions the discovery periods for which can extend for many months and sometimes years.
 These requests are especially excessive given that five other witnesses were previously deposed in
 connection with the North Carolina preliminary injunction hearing on many of the issues relevant
 to the Motions to Dismiss.

        The depositions of these newly identified witnesses will not yield any additional relevant
 information. Mr. Andrews is a lawyer, and Mr. McCann works with Mr. Andrews in the legal
 department. All of their involvement in the corporate restructuring was performed in these roles.
 The only substantive testimony these two witnesses could provide would be privileged or work
 product protected. Finally, Mr. Decker is the supervisor of Adam Lisman, one of the five witnesses
 deposed in connection with the North Carolina preliminary injunction proceeding. Thus, all of his
 testimony is likely to be duplicative of Mr. Lisman’s. The Court should deny each of these
 additional deposition requests.

 Custodians

         On December 15, 2021, at the Court’s direction, the parties agreed on seven ESI custodians
 – Alex Gorsky, Joaquin Duato, Thibaut Mongon, Michelle Ryan, Bob Decker, Melissa Munoz,
 and Tom McCann. The Debtor promptly began collecting and processing their ESI so it could be
 ready for review over the holidays. On December 21, the Debtor agreed to use the search terms
 proposed by the Talc Committees (with two minor modifications, which are described in more
 detail below) that would be applied to the ESI. Immediately thereafter, the Debtor began reviewing
 documents and made its first production of ESI a little over two weeks later.

         Throughout the discovery process, the Debtor has emphasized that it is critical that the Talc
 Committees identify custodians as early as possible because it takes a significant amount of time
 to collect, process, review, and produce ESI. Nevertheless, on January 4, the Talc Committees
 requested an additional three custodians – Jose Azevedo, Richard Dickinson, and John Kim.
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         As an accommodation, the Debtor agreed to include Messrs. Azevedo and Dickinson as
 custodians, provided that the date range of the review be limited to September 1, 2021, to the
 petition date, which proposal the Talc Committees accepted. The Debtor declined to include Mr.
 Kim as a custodian because he is a lawyer and most if not all of his documents will be privileged
 or otherwise protected from disclosure. In addition, Mr. Kim has already been deposed and cross
 examined in connection with the preliminary injunction hearing, and he will be deposed again later
 this month in connection with the Motions to Dismiss. The Talc Committees will have had ample
 opportunity to obtain discovery into any non-privileged information Mr. Kim can provide that is
 relevant to the Motions to Dismiss.

         At the conference on January 6, the Talc Committees asked the Court to order the Debtor
 to include Mr. Kim as a custodian. (Jan. 6, 2022 Tr. 28:3-5). The Court denied this request. (Id.
 at 35:9-10). As the Court ruled, “[t]here’s a compressed time frame here, and there has been an
 opportunity to examine Mr. Kim and to have documents produced. … And I believe, including
 Mr. Kim as a custodian, will simply overwhelm the work that needs to be done to bring this to
 bear in February.” (Id. at 35:13-20).

         Committee I, nonetheless, again asks this Court to direct the Debtor to make Mr. Kim an
 ESI custodian. Yet the only arguments that it makes are the same ones that this Court rejected just
 eight days ago. (Compare Jan. 6, 2022 Tr. 28:9-29:6 with January 13, 2022 letter of Jonas to Court
 [Dkt. 1141] at 2). There has been no change in circumstances since the January 6 conference that
 would justify including Mr. Kim as an ESI custodian.

         Committee I also argues that this is a “classic use of the sword-and-shield.” But the Debtor
 is not relying on the advice of counsel or any other privileged information to oppose the Motions
 to Dismiss. Mr. Kim has testified and will testify only about non-privileged communications and
 facts. Thus, as the Court concluded on January 6, the sword-and-shield argument is misplaced.
 (Jan. 6, 2022 Tr. 28:3-5) (“I don’t believe there’ll be … information that’ll be shielded”). Thus,
 there can be no prejudice to the Talc Committees from not including Mr. Kim as a custodian. In
 contrast, requiring the Debtor to do so will cause it to spend even more time and money reviewing
 Mr. Kim’s documents to conclude what we already know – that most, if not all, are protected from
 disclosure. The Debtor asks the Court to deny this request a second time.

         On January 12, the Talc Committees requested yet two additional ESI custodians: Mark
 Schneider and Duane Van Arsdale. The Court should deny both requests. It is simply too late in
 the process to add new custodians. There is not enough time to collect and review their materials
 in time for the hearing on the Motions to Dismiss. Moreover, the ESI of both individuals will
 largely be redundant of the ESI of two other custodians – Ms. Ryan and Mr. Decker. Mr. Van
 Arsdale replaced Ms. Ryan as corporate treasurer, and Mr. Schneider reports to Mr. Lisman, who
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 in turn reports to Mr. Decker in the corporate controller’s group. It is unlikely that either will have
 anything relevant that is not already covered by the ESI of Ms. Ryan and Mr. Decker. The Debtor
 asks the Court to deny these late requests for additional custodians.

 Document Requests

        Below the Debtor responds to the specific document requests that the Talc Committees
 addressed in their letters.

         RFP No. 53: Jones Day billing records. The Debtor will produce documents responsive to
 this request in the format ordered by the Court (aggregate hours and aggregate fees by entity) early
 next week.

          RFP No. 55: Draft versions of the Approval Memo. The Debtor anticipates that any
 documents responsive to this request will be privileged and/or protected by the work product
 doctrine. Nevertheless, if there are any non-privileged documents responsive to this request in the
 files of the agreed-upon ESI custodians, the Debtor will produce them.

        RFP No. 28: Documents sufficient to identify royalty rights assigned to Royalty A&M.
 The Debtor understood that it had satisfied this request by identifying, on December 31, 2021,
 documents responsive to this request that were included in the NC Production. On January 12,
 however, the Talc Committees asked the Debtor to produce additional documents concerning
 royalty rights. The Debtor will be in a position to respond to this new request next week and
 requests that the Court defer any ruling on this request until after the Debtor has a chance to
 respond.

         RFP No. 49: Documents concerning “Project Plato.” The Talc Committees have asked the
 Debtor to search for and produce all documents and communications concerning Project Plato –
 not just within the files of the agreed-upon ESI custodians, but “wherever they may be located.”
 This is a sweepingly broad, burdensome, and unreasonable request that is not remotely
 proportional to the needs of the case. And it is plainly contrary to the parties’ agreement that ESI
 would be limited to specific search terms and identified custodians. Read literally, this would
 require the Debtor to collect and review ESI for even more than the 78 custodians originally
 requested by the Talc Committees; indeed, the search would encompass all individuals’ emails on
 all company servers. The Debtor is producing non-privileged documents responsive to this request
 from the files of the nine agreed-upon custodians. It is grossly disproportionate and burdensome
 to request that the Debtor engage in this overbroad search requested by the Talc Committees.

        Further, Committee II claims that it made it clear “during several discussions” with the
 Debtor that the request for “Project Plato” documents is not limited to just the agreed-upon
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 custodians. That is not true. During the parties’ meet and confers, the Debtor stated repeatedly
 that it would only search for communications on this topic to the extent they were identified in the
 files of the agreed-upon custodians. The Debtor said this again in a letter to the Talc Committees
 on December 13, in which the Debtor agreed to respond to RFP No. 49 “[s]ubject to the parties
 reaching an agreement on custodians and search terms.” It reiterated this on December 31, in its
 response and objection to RFP 49: “Subject to and without waiving its objections, the Debtor will
 produce non-privileged communications related to Project Plato that it identifies after applying the
 Search Terms to the files of the Custodians dated from March 1, 2020, to the Petition Date.”

         The Talc Committees never expressed any concern about the Debtor’s response until
 January 12, more than a month after the Debtor first said it would limit its searches to the files of
 the agreed-upon ESI custodians and nearly two weeks after the Debtor served its responses and
 objections. The Court should reject this late attempt to expand discovery to levels of burden that
 simply cannot be borne.

         RFP No. 40: Documents identifying settlement payments for talc claims. Committee II
 seeks discovery regarding settlements of talc claims. The Debtor respectfully submits that this
 information is not relevant to any undercapitalization or “scarcity of funds” argument because the
 Debtor, through the Funding Agreement has the same access to assets and paying power as it had
 prior to the corporate restructuring.

        In support of its pursuit of settlement information, Committee II asserts that Johnson &
 Johnson (“J&J”) produced unredacted settlement agreements for approximately 2,000 ovarian
 cancer cases and 800 mesothelioma cases in the Imerys bankruptcy. That is not true. In Imerys,
 J&J was ordered by the bankruptcy court to produce, on an attorneys-eyes only basis, redacted
 versions of only nine master settlement agreements and eight individual releases. Notably, these
 productions were made over the objection of a number of plaintiffs’ firms. And, this information
 was produced to enable Imerys’s experts to value claims for purposes of trust distribution
 procedures. The production of limited redacted information there has little if any relevance here.

         In addition, the recent decision in Plastronics Socket Partners, Ltd. v. Dong Weon Hwang,
 2022 WL 108948 (Fed. Cir. Jan. 12, 2022) that Committee II cites does not present “facts very
 similar to those relevant to this matter.” The only similarity is that both cases involved use of the
 Texas divisional merger statute.

          All this said, the Debtor is willing to provide, consistent with the Court’s directive at a
 prior conference, the following confidential information, provided that the Talc Committees agree
 to treat the following information as confidential pursuant to the protective order in this matter:

        Pre-filing, [X] ovarian claims were resolved for a total of $[Y].
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        Pre-filing, [X] meso claims were resolved for a total of $[Y].

 Search Term Hit Report

         In connection with RFP No. 60, Committee II requests search term “hit reports” so it can
 formulate a counter-proposal to Debtor’s “unilateral search term protocol.” The search protocol
 that the Debtor has used to review and produce ESI is not a “unilateral search term protocol.”

         In fact, the Debtor agreed to use nearly all of the 28 search terms that the Talc Committees
 originally proposed. The Debtor modified only two search terms – “stay” and “cancer” – because
 they were yielding a high number of false hits. For example, the search term “stay” yielded a
 significant number of false hits that included the phrases “stay home,” “stay safe,” “stay
 connected,” and “stay” in the context of a hotel stay. The search term “cancer” yielded a
 significant number of false hits that referred to cancer institutes or cancer research.

         On December 21, the Debtor informed the Talc Committees of this and proposed to use
 the following search term combinations instead of “stay” and “cancer”:

            •   "Stay" w/10 of any of the following: automatic; bankrupt*; J&J; Johnson; case*;
                litigation; or proceed*

            •   "Cancer" w/20 of trial*; lawsuit*; or litigation

         The Talc Committees never responded to the proposal. Hearing nothing from the Talc
 Committees, the Debtor understood that the Talc Committees agreed to these minor modifications
 to the two proposed terms and proceeded to run them together with the Talc Committees’ search
 terms as originally proposed against the ESI collected from the custodians’ files. The Debtor has
 now reviewed thousands of documents and produced ESI from the files of five custodians using
 this search protocol. It is too late, and would be overly burdensome and costly, to allow the Talc
 Committees to change this search protocol now. The Debtor respectfully requests that the Court
 deny this request.

         Moreover, the Debtor respectfully requests that the Court deny Committee II’s request for
 the search term hit report. Since the Debtor has used the search terms that the Talc Committees
 originally proposed (with the two minor modifications noted above), there is no value to producing
 the report at this time. The only purpose it could possibly serve is to permit the Talc Committees
 to obtain discovery about discovery. That is not a proper request and the Debtor respectfully
 submits that it is a wasteful distraction from much more important issues in this proceeding.

 Privilege Logs
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         Committee II has demanded that the Debtor provide by Sunday, January 16, a privilege log
 for documents withheld from the custodian files of Thibault Mongon. The Debtor respectfully
 asks the Court to deny this request. The Debtor is currently in the process of reviewing thousands
 of potentially privileged documents across all the custodians. Privilege review requires careful
 consideration and analysis. It cannot be rushed to meet arbitrary expedited deadlines. The Debtor
 respectfully asks the Court to allow it to complete a thorough review of the privilege documents
 and produce the logs by the close of fact discovery.

 Case Management Order

        The Debtor understands that the following issues remain unresolved with respect to the
 case management order.

         Deadline for Serving Expert Reports: The Debtor initially proposed a deadline for serving
 expert reports of January 24, while the Talc Committees proposed January 31. As a compromise,
 the Debtor proposed January 27 for the deadline, and the Talc Committees rejected that proposal.
 The Debtor respectfully submits that expert reports should be served no later than January 27 to
 allow the parties sufficient time to prepare for expert depositions, which are scheduled to begin
 February 2.

         Deadline for Fact Discovery: The Debtor proposed a deadline for fact discovery of
 February 2, while the Talc Committees proposed February 10. Given the fact that the parties are
 conducting expert depositions between February 2 and 10, the Debtor respectfully submits that
 that the fact discovery deadline should be no later than February 2. That would give the parties
 sufficient time to complete document production and depositions of fact witnesses.

        Reply and Sur-reply Briefs: Your Honor previously stated that all briefing on the Motions
 to Dismiss should be completed by February 4, 2022. For that reason, the Debtor originally
 proposed to the Talc Committees that reply briefs be due on January 26 and sur-reply briefs on
 February 4. The Debtor agrees to the Talc Committees’ proposal that reply briefs be due January
 31, provided that the Court is willing to permit the Debtor to file its sur-reply brief on February 7.


        Thank you for your consideration of this letter.
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                                       Respectfully submitted,

                                       /s/ Gregory M. Gordon


                                       Gregory M. Gordon
